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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                            Chapter 11

FTX TRADING LTD., et al., 1          0F                           Case No. 22-11068 (JTD)

          Debtors.                                                (Jointly Administered)


      DECLARATION OF STEVEN P. COVERICK IN SUPPORT OF CONFIRMATION
     OF THE SECOND AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION
               OF FTX TRADING LTD. AND ITS DEBTOR AFFILIATES

                   I, Steven P. Coverick, pursuant to 28 U.S.C. § 1746, hereby declare under penalty

of perjury that the following is true and correct to the best of my knowledge, information, and

belief:

I.        Personal Qualifications

                   1.        I am a Managing Director at Alvarez & Marsal North America, LLC

(“A&M”), a restructuring advisory services firm specializing in interim management, crisis

management, turnaround consulting, operational due diligence, creditor advisory services and

financial and operation restructuring.

                   2.        I have more than ten years of restructuring and financial advisory

experience across various industries, including energy, technology, media, telecommunications,

logistics, and healthcare. I have a Bachelor’s Degree from the Kelley School of Business at Indiana

University, am a CFA® charterholder, and am recognized as a Certified Turnaround Professional

by the Turnaround Management Association.



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      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
      4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
      Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
      of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
      Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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                 3.         Since joining A&M, I have been involved in numerous Chapter 11

restructurings, including Seadrill Limited, iHeart Media Inc., White Star Petroleum Holdings,

LLC, Templar Energy LLC, and Expro International Group Holdings Limited.

                 4.         I submit this declaration (this “Declaration”) in support of confirmation of

the Debtors’ Second Amended Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and

Its Debtor Affiliates [D.I. 26029] (including the Plan Supplement, and all other exhibits and

schedules thereto, in each case, as may be further amended, modified, or supplemented from time

to time, the “Plan”). 2 I have reviewed, and I am generally familiar with, the terms and provisions
                       1F




of the Plan, the documents comprising the Plan Supplement, the Disclosure Statement for Debtors’

Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its Affiliated Debtors and

Debtors-in-Possession [D.I. 19143] (the “Disclosure Statement”), the proposed Confirmation

Order, and the requirements for confirmation of the Plan under section 1129 of the Bankruptcy

Code.

                 5.         I am generally familiar with the Debtors’ current day-to-day operations,

financial affairs, business affairs and (to the extent available) books and records. Except as

otherwise indicated, the facts set forth in this Declaration (or incorporated by reference herein) are

based upon my personal knowledge, my review of relevant documents and the Debtors’ books and

records, my discussions with members of the Debtors’ senior management and the Debtors’ other

advisors, information provided to me by employees working under my supervision or other

employees of the Debtors, my opinion based upon my experience and knowledge related to the

Debtors’ operations, businesses, and financial condition, or upon information supplied to me by


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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in (a) the
    Debtors’ Memorandum of Law in Support of Confirmation of the Second Amended Joint Chapter 11 Plan of
    Reorganization of FTX Trading Ltd. and its Debtor Affiliates, filed contemporaneously herewith or (b) the Plan,
    as applicable.

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the Debtors’ counsel and advisors. If called upon to testify, I would testify competently to the

facts set forth herein. I am authorized to submit this Declaration on behalf of the Debtors.

                 6.       Based on my personal involvement in the formation of the Plan, my

attendance at Board meetings, my discussions with management of the Debtors and the Debtors’

other advisors (including counsel), and my review of the Plan, the Plan Supplement and the

Disclosure Statement, I believe that the Plan complies with the applicable provisions of the

Bankruptcy Code, that the Plan was proposed in good faith, and that the Debtors, acting through

their officers, directors, and professionals, have conducted themselves in a manner that complies

with applicable law in relation to the formulation and negotiation of, and solicitation of votes on,

the Plan.

II.    Background

       A.        Plan Summary.

                 7.       The Plan provides for the transfer of all assets of the Consolidated Debtors

to the Consolidated Wind Down Trust as of the Effective Date, free and clear of any Liens, Claims,

charges or other encumbrances or interests. The Consolidated Wind Down Trust will fund Cash

distributions to creditors, and will be managed by the Wind Down Board and the Plan

Administrator.

                 8.       Key components of the Plan include the following:

                      •   Satisfaction in full of Allowed Claims in Class 1 (Priority Tax Claims),
                          Class 2 (Other Priority Claims), Class 3B (Other Secured Claims), Class 4
                          (Separate Subsidiary Claims), Class 5C (NFT Customer Entitlement
                          Claims) and Class 8A (Propco Operating Expense Claims).

                      •   In the case of Holders in Class 3A (Secured Loan Claims), Class 6A
                          (General Unsecured Claims), Class 7A (Dotcom Convenience Claims),
                          Class 7B (U.S. Convenience Claims) and Class 7C (General Convenience
                          Claims), payment in Cash in an amount projected to equal 100% of such
                          Allowed Claim plus interest paid at the applicable rate on such Claim.


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    •   In the case of Holders in Class 5A (Dotcom Customer Entitlement Claims),
        Class 5B (U.S. Customer Entitlement Claims) and Class 6B (Digital Asset
        Loan Claims), payment in Cash in an amount projected to equal 100% of
        such Holder’s Allowed Claim, plus interest at the applicable rate, plus any
        proceeds, if any, from the Supplemental Remission Fund to which such
        Holder is entitled.

    •   In the case of Holders in Class 8B (Priority DM Claim), payment in Cash
        in an amount equal to the Priority DM Claim, to be paid directly from the
        proceeds from the sale, disposition or other monetization of the Bahamas
        Properties, until the Priority DM Claim is paid in full.

    •   In the case of Holders in Class 8C (PropCo General Unsecured Claims),
        payment in Cash in an amount equal to such Holder’s Pro Rata share of the
        proceeds from the sale, disposition or other monetization of the Bahamas
        Properties available to pay PropCo General Unsecured Claims.

    •   In the case of Holders in Class 10A (Senior Subordinated IRS Claims) and
        Class 10C (Junior Subordinated IRS Claims), payment in Cash in an
        amount equal to such Holder’s share of remaining proceeds available for
        Distribution from the General Pool.

    •   In the case of Holders in Class 10B (Senior Subordinated Governmental
        Claims), payment in Cash in an amount equal to such Holder’s share of
        remaining proceeds available for Distribution from the General Pool;
        provided that each Holder of such Allowed Senior Subordinated
        Governmental Claim may elect to contribute such payment to the
        Supplemental Remission Fund for the benefit of, and Distribution to,
        Holders of Allowed Dotcom Customer Entitlement Claims, Allowed U.S.
        Customer Entitlement Claims, and Allowed Digital Asset Loan Claims.

    •   In the case of Holders in Class 12 (Preferred Equity Interests), Class 13
        (Section 510(b) Preferred Equity Claims), Class 14 (Section 510(b) Other
        Equity Claims) and Class 16 (Other Equity Interests), payment in Cash in
        an amount equal to such Holder’s Pro Rata share of remaining proceeds
        available for Distribution from the General Pool.

    •   No Holder of a Claim or Interest in Class 9 (Cancelled Intercompany
        Claims), Class 11 (Intercompany Interests), Class 15 (Equitably
        Subordinated Claims), Class 17 (FTT Claims and Interests) or Class 18 (De
        Minimis Claims) shall receive any Distribution on account of its Claim or
        Interest.

    •   Subject to the occurrence of the Effective Date, the rejection of all
        Executory Contracts and Unexpired Leases of the Debtors other than
        Executory Contracts or Unexpired Leases (a) previously assumed or
        rejected pursuant to an order of the Court; (b) that, as of the Effective Date,

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                      are the subject of a pending motion to assume; or (c) that are specifically
                      described in the Plan to be assumed in connection with the Plan.

       B.     Plan Solicitation.

              9.      The Debtors distributed the Solicitation Packages in accordance with the

Solicitation and Voting Procedures by the Solicitation Mailing Deadline (as defined in the

Solicitation Procedures Order).      Specifically, the Debtors caused Kroll Restructuring

Administration LLC (“Kroll”) to distribute a Solicitation Package to each Holder of a Claim or

Interest in Class 3A (Secured Loan Claims), Class 5A (Dotcom Customer Entitlement Claims),

Class 5B (U.S. Customer Entitlement Claims), Class 6A (General Unsecured Claims), Class 6B

(Digital Asset Loan Claims), Class 7A (Dotcom Convenience Claims), Class 7B (U.S.

Convenience Claims), Class 7C (General Convenience Claims), Class 8B (Priority DM Claim),

Class 8C (PropCo General Unsecured Claims), Class 10A (Senior Subordinated IRS Claims),

Class 10B (Senior Subordinated Governmental Claims), Class 10C (Junior Subordinated IRS

Claims) and Class 12 (Preferred Equity Interests) (each, a “Voting Class” and collectively, the

“Voting Classes”). The Debtors caused Kroll to distribute the Unimpaired Notice (as defined in

the Solicitation Procedures Order) to Holders of Unimpaired Claims and Interests in Class 1

(Priority Tax Claims), Class 2 (Other Priority Claims), Class 3B (Other Secured Claims), Class 4

(Separate Subsidiary Claims), Class 5C (NFT Customer Entitlement Claims) and Class 8A

(Propco Operating Expense Claims), which are conclusively deemed to accept the Plan, and the

Impaired Notice (as defined in the Solicitation Procedures Order) to Holders of Impaired Claims

and Interests in Class 13 (Section 510(B) Preferred Equity Claims), Class 14 (Section 510(B)

Other Equity Claims), Class 15 (Equitably Subordinated Claims), Class 16 (Other Equity

Interests), Class 17 (FTT Claims and Interests) and Class 18 (De Minimis Claims), which are

conclusively presumed to have rejected the Plan.


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               10.        On August 2, 2024, the Debtors filed the Plan Supplement [D.I. 22163],

consisting of: (a) the Draft Plan Administration Agreement; (b) the Draft Liquidating Trust

Agreement; (c) the List of Wind Down Board Members; (d) the List of Advisory Committee

Members; (e) the List of Excluded Customer Preference Actions; (f) the Wind Down Budget;

(g) the List of Assumed Executory Contracts and Unexpired Leases; (h) the List of Excluded

Entities; (i) the List of Separate Subsidiaries; and (j) the Amended and Restated Rothschild

Reimbursement Agreement. It is my understanding that the Debtors caused the Plan Supplement

to be served on, among others, the parties identified on the master service list maintained by Kroll

(the “Notice Parties”).

               11.        On September 23, 2024, the Debtors filed the First Amended Plan

Supplement [D.I. 25649], consisting of the Amended and Restated List of Assumed Executory

Contracts and Unexpired Leases. It is my understanding that the Debtors caused the First

Amended Plan Supplement to be served on, among others, the Notice Parties.

               12.        The deadline for all Holders of Claims and Interests entitled to vote on the

Plan to cast their ballots was August 16, 2024 at 4:00 p.m. (Prevailing Eastern Time). I have been

advised that each of the 14 Voting Classes voted overwhelmingly to accept the Plan.

III.   The Plan Satisfies the Bankruptcy Code’s Requirements for Confirmation

               13.        Based on my understanding of the Plan, the events that have occurred during

these Chapter 11 Cases, and discussions I have had with the Debtors’ professionals regarding the

requirements of the Bankruptcy Code, I believe that the Plan satisfies all provisions of section 1129

of the Bankruptcy Code and complies with all other applicable sections of the Bankruptcy Code,

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of



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Delaware (the “Local Rules”), and applicable non-bankruptcy law, and should therefore be

confirmed.

       A.      The Plan Satisfies Bankruptcy Code Section 1129(a)(1).

               14.    I understand that section 1129(a)(1) of the Bankruptcy Code requires the

Plan to comply with the applicable provisions of the Bankruptcy Code. As detailed below, I have

been advised by the Debtors’ other advisors that the Plan satisfies this requirement.

               1.     Classification of Claims and Interests Complies with Bankruptcy Code
                      Section 1122.

               15.    The Plan designates Claims and Interests into the following Classes: Class 1

(Priority Tax Claims); Class 2 (Other Priority Claims); Class 3A (Secured Loan Claims); Class 3B

(Other Secured Claims); Class 4 (Separate Subsidiary Claims); Class 5A (Dotcom Customer

Entitlement Claims); Class 5B (U.S. Customer Entitlement Claims); Class 5C (NFT Customer

Entitlement Claims); Class 6A (General Unsecured Claims); Class 6B (Digital Asset Loan

Claims); Class 7A (Dotcom Convenience Claims); Class 7B (U.S. Convenience Claims); Class 7C

(General Convenience Claims); Class 8A (PropCo Operating Expense Claims); Class 8B (Priority

DM Claim); Class 8C (PropCo General Unsecured Claims); Class 9 (Cancelled Intercompany

Claims); Class 10A (Senior Subordinated IRS Claims); Class 10B (Senior Subordinated

Governmental Claims); Class 10C (Junior Subordinated IRS Claims); Class 11 (Intercompany

Interests); Class 12 (Preferred Equity Interests); Class 13 (Section 510(b) Preferred Equity

Claims); Class 14 (Section 510(b) Other Equity Claims); Class 15 (Equitably Subordinated

Claims); Class 16 (Other Equity Interests); Class 17 (FTT Claims and Interests); and Class 18 (De

Minimis Claims). I believe the Debtors’ classification scheme is consistent with the bounds of

section 1122 of the Bankruptcy Code as it has been explained to me.




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               16.     I believe that each of the Claims or Interests in a particular Class under the

Plan is substantially similar to the other Claims or Interests in such Class. I also believe that each

Class differs from the other Classes based on legal attributes or other relevant and objective

criteria. Further, I do not believe that the classification structure was designed to gerrymander the

Classes to create an impaired consenting class.

               17.     As a result of the foregoing, I believe that the Debtors’ classification scheme

complies with section 1122 of the Bankruptcy Code as it has been explained to me, and should be

approved.

               2.      The Plan Complies with Bankruptcy Code Section 1123(a).

               18.     I have been advised that the Plan fully complies with each of the applicable

requirements of section 1123(a) of the Bankruptcy Code, based on the following:

               (a)     Section 1123(a)(1) of the Bankruptcy Code. The Plan designates Classes

of Claims and Interests.

               (b)     Section 1123(a)(2) of the Bankruptcy Code. The Plan specifies which

Classes of Claims are Unimpaired under the Plan.

               (c)     Section 1123(a)(3) of the Bankruptcy Code.           The Plan specifies the

treatment of each Class of Claims and Interests that is Impaired under the Plan and the treatment

for each such Impaired Class.

               (d)     Section 1123(a)(4) of the Bankruptcy Code. Except as otherwise agreed to

by a Holder of a particular Claim or Interest, the treatment of each Claim or Interest in each

particular Class is the same as the treatment of each other Claim or Interest in such Class.

               (e)     Section 1123(a)(5) of the Bankruptcy Code. I understand that Article 5 of

the Plan, and various other provisions of the Plan, provide adequate means for its implementation.



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               (f)     Section 1123(a)(6) of the Bankruptcy Code. I understand that this section

is inapplicable because no new nonvoting equity securities are being issued by the Consolidated

Wind Down Trust.

               (g)     Section 1123(a)(7) of the Bankruptcy Code. I understand that the

individuals proposed to serve as the initial directors of the Wind Down Board and the Plan

Administrator have been disclosed in the Plan Supplement, which I understand is consistent with

the interests of the creditors as beneficiaries of the Plan and public policy. Further, I understand

that any other directors of the Wind Down Board and any officers of the Wind Down Entities will

be determined in accordance with the terms of the Plan, the Plan Supplement and the Liquidating

Trust Agreement, which I understand is also consistent with the interest of the creditors as

beneficiaries of the Plan and public policy.

               19.     Accordingly, I believe the requirements of section 1123(a) of the

Bankruptcy Code have been satisfied.

               3.      The Plan Complies with Bankruptcy Code Section 1123(b).

                       (a)     Plan Permissive Provisions.

               20.     I have been advised that section 1123(b) of the Bankruptcy Code sets forth

permissive provisions that may be incorporated into a chapter 11 plan, and, as discussed in more

detail below, I believe that each of the provisions of the Plan is consistent with section 1123(b).

               (a)     Section 1123(b)(1) of the Bankruptcy Code. Pursuant to Article 4 of the

Plan, Class 1 (Priority Tax Claims) is unimpaired, Class 2 (Other Priority Claims) is unimpaired,

Class 3A (Secured Loan Claims) is impaired, Class 3B (Other Secured Claims) is unimpaired,

Class 4 (Separate Subsidiary Claims) is unimpaired, Class 5A (Dotcom Customer Entitlement

Claims) is impaired, Class 5B (U.S. Customer Entitlement Claims) is impaired, Class 5C (NFT

Customer Entitlement Claims) is unimpaired, Class 6A (General Unsecured Claims) is impaired,

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Class 6B (Digital Asset Loan Claims) is impaired, Class 7A (Dotcom Convenience Claims) is

impaired, Class 7B (U.S. Convenience Claims) is impaired, Class 7C (General Convenience

Claims) is impaired, Class 8A (Propco Operating Expense Claims) is unimpaired, Class 8B

(Priority DM Claim) is impaired, Class 8C (PropCo General Unsecured Claims) is impaired,

Class 10A (Senior Subordinated IRS Claims) is impaired, Class 10B (Senior Subordinated

Governmental Claims) is impaired, Class 10C (Junior Subordinated IRS Claims) is impaired,

Class 12 (Preferred Equity Interests) is impaired, Class 13 (Section 510(B) Preferred Equity

Claims) is impaired, Class 14 (Section 510(B) Other Equity Claims) is impaired, Class 15

(Equitably Subordinated Claims) is impaired, Class 16 (Other Equity Interests) is impaired,

Class 17 (FTT Claims and Interests) is impaired and Class 18 (De Minimis Claims) is impaired.

               (b)     Section 1123(b)(2) of the Bankruptcy Code. Section 6.1 of the Plan

provides for the rejection of Executory Contracts and Unexpired Leases other than (1) those

previously assumed, assumed and assigned, or rejected pursuant to an order of the Bankruptcy

Court, (2) those that are the subject of a pending motion to assume or notice of assumption and

(3) those listed in the Plan Supplement, as contemplated by section 1123(b)(2) of the Bankruptcy

Code.

               The Debtors and their advisors have reviewed the outstanding Executory Contracts

and Unexpired Leases, and have determined that only those identified contracts listed in the Plan

Supplement or otherwise assumed in accordance with Section 6.1 of the Plan should be assumed,

and that rejection of all other Executory Contracts and Unexpired Leases is in the best interests of

the Debtors, the Debtors’ estates, and all stakeholders.




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                (c)     Section 1123(b)(3) of the Bankruptcy Code.

                21.     Global Settlement and Customer Priority Settlement. As I understand is

permitted by section 1123(b)(3)(A) of the Bankruptcy Code, Section 5.2 of the Plan provides that,

in consideration for the distributions and other benefits provided pursuant to the Plan, the

provisions of the Plan are a good faith compromise of all Claims, Interests and controversies

relating to the contractual, legal and subordination rights that a Holder of a Claim may have with

respect to any Allowed Claim, or any distribution to be made on account of such Allowed Claim

(the “Global Settlement). My view is that the Global Settlement is fair, equitable and in the best

interests of the Debtors and their stakeholders.

                22.     Additionally, as part of the Global Settlement, I understand that the terms

of the Customer Priority Settlement (as defined in the Disclosure Statement) are incorporated into

the Plan through the Global Settlement in Section 5.2 of the Plan. Pursuant to the Customer

Priority Settlement, all Claims, Interests and Causes of Action against, by or among the Debtors,

including, among other things, issues relating to the tracing of assets of individual Debtors and the

effects and consequences of the Dotcom TOS and US TOS and whether assets held by the

FTX.com Exchange and the FTX.US Exchange are property of the Debtors, will be settled and

resolved. Additionally, I understand that certain customer entitlement claims will be prioritized

relative to certain other creditors, as described in detail in the Plan.

                23.     It is my view that the Customer Priority Settlement is the result of good faith

arm’s-length negotiations and that such negotiations among the Debtors, the Official Committee,

the Ad Hoc Committee, and the Class Action Claimants were free of any collusion. I understand

that in the absence of the Customer Priority Settlement, the Debtors would have been required to

litigate against the Ad Hoc Committee, the Class Action Claimants and, potentially, other



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customers as to whether assets that customers deposited into or acquired on the FTX Exchanges

are assets of the Debtors’ estates.

               24.     It is apparent that litigation of such issues to final judgment would be

complex, burdensome, uncertain, and could greatly delay the conclusion of these Chapter 11

Cases. I understand that litigation would require, among other things, the resolution of disputes

as to the meaning of the US TOS and Dotcom TOS and resolution of issues regarding the tracing

of large quantities of different assets, which would likely be burdensome and time consuming.

This would likely require discovery and expert analysis in relation to the tracing of a significant

number of different cryptocurrency, stablecoin, fiat currency and other assets held within the

Debtors’ estates.

               25.     Accordingly, based upon the facts I have reviewed and based upon my

understanding of the claims and disputes as presented to me by the Debtors’ other advisors, the

Debtors’ conclusion that the benefits from entry into the Customer Priority Settlement outweigh

the burden and potential delay in distributions from continued litigation is reasonable. My view

is that the Customer Priority Settlement is fair, equitable, and in the best interests of the Debtors

and their stakeholders.

               26.     Customer Preference Settlement. As I understand is permitted by section

1123(b)(3)(A) of the Bankruptcy Code, Section 5.5 of the Plan provides for the Customer

Preference Settlement. In the absence of a settlement, the Debtors would be required to litigate to

judgment each individual Customer Preference Action, which would be an immensely expensive

and inefficient undertaking. I have been advised that customers may assert certain defenses to, or

otherwise dispute, Customer Preference Actions brought against them, including on the basis of

(a) the safe harbor in section 546(e) of the Bankruptcy Code, (b) the ordinary course defense in



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section 547(c)(2) of the Bankruptcy Code and (c) the new value defense in section 547(c)(4) of

the Bankruptcy Code. In addition, I understand there could be various other defenses available to

certain customers that are specific to the facts surrounding the underlying withdrawals. I have

been advised that the Debtors have responses that may overcome certain of these defenses if

interposed by certain customers.

                27.   However, even if the Debtors were successful on the merits of the Customer

Preference Actions, it is my opinion that the substantial recovery projected pursuant to the

Financial Projections attached as Appendix C to the Disclosure Statement, subject to the

assumption and limitations noted therein, nearly eliminates the net value of the uncertain

recoveries on account of Customer Preference Actions.

                28.   My view is that litigation of each and every customer preference claim

would be costly and the outcome uncertain, and would generally not be beneficial to the Debtors

or their estates given the forecasted recoveries. The Debtors benefit from not needing to reconcile

the amount of each customer’s claim amount for those accepting and opting into the Customer

Preference Settlement. However, not every preference claim is similarly situated and the decision

by the Debtors to preserve certain Customer Preference Claims for further evaluation is reasonable.

My view is that the Customer Preference Settlement is the result of good faith arm’s-length

negotiations among the Debtors, the Official Committee, the Ad Hoc Committee and the Class

Action Claimants, and is fair, equitable, and in the best interests of the Debtors and their

stakeholders.

                29.   The Customer Preference Settlement resulted from extensive discussions

with the Official Committee, the Ad Hoc Committee, and other stakeholders, is presented

separately in Section 5.5 of the Plan, and was detailed in the Disclosure Statement approved by



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this Court. The Customer Preference Settlement is not a plan or claim treatment provided on

account of Customer Entitlement Claims. Rather, the Debtors determined they would make an

offer to waive and not prosecute Customer Preference Actions, subject to acceptance of the offer’s

terms and as long as the Customer Entitlement Claim did not fall into certain categories of Claims

that the Debtors were not willing to include in the offer at this time. The Customer Preference

Actions included as Excluded Customer Preference Actions were determined after evaluating the

potential Claims against this criteria.

               (d)     Section 1123(b)(4) of the Bankruptcy Code. The Plan does not provide for

the sale of all or substantially all of the Debtors’ property and, therefore, as I understand it,

section 1123(b)(4) of the Bankruptcy Code is inapplicable in these Chapter 11 Cases.

               (e)     Section 1123(b)(5) of the Bankruptcy Code. As I understand is permitted

by section 1123(b)(5) of the Bankruptcy Code, the Plan modifies the rights of Holders of Claims

or Interests in the Impaired Classes, and leaves unaffected the rights of Holders of Claims or

Interests in the Unimpaired Classes.

               (f)     Section 1123(b)(6) of the Bankruptcy Code. It is my understanding that

section 1123(b)(6) of the Bankruptcy Code provides that a plan may include any other appropriate

provision not inconsistent with the applicable provisions of the Bankruptcy Code. As I understand

is in accordance with section 1123(b)(6) of the Bankruptcy Code, Article 10 of the Plan contains

certain release and exculpation provisions that are essential to the Plan and, I am advised, are

consistent with the applicable provisions of the Bankruptcy Code.

               30.     Accordingly, I believe that each of the foregoing permissive provisions is

consistent with section 1123(b) of the Bankruptcy Code.




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                       (b)     The Plan Releases Should Be Approved.

               31.     The Plan provides for: (a) releases by the Debtors; (b) voluntary releases

by certain Holders of Claims and Interests; (c) exculpation for certain parties; and (d) an injunction

precluding Persons from bringing any action that is released pursuant to the Plan or the

Confirmation Order. I believe that these provisions are appropriate because, among other things,

they are reasonable, in the best interests of the Debtors, the product of arm’s-length negotiations,

are being provided in exchange for substantial consideration from the respective parties released

thereby, and are important to obtaining stakeholder support for the Plan.

                               a.      The Debtors’ Releases Are Appropriate and Should Be
                                       Approved.

               32.     Section 10.3 of the Plan provides for the release and discharge of the

Released Parties from certain claims, obligations, rights, suits, damages, causes of action, remedies

and liabilities (the “Debtors’ Releases”). Based on my participation in the Plan formation process,

I believe that the Debtors’ Releases are in the best interests of the Debtors’ Estates and a sound

exercise of the Debtors’ business judgment. Without ex ante assurance of protection from liability,

I believe the Debtors’ stakeholders would not have participated in the negotiations and

compromises that led to the Plan.

               33.     I believe that each of the parties released by the Debtors’ Releases provided

value to the Debtors and their Estates and aided in the development of the Plan. Each of the

Released Parties’ substantial contribution to the Debtors and their Estates was instrumental in the

successful resolution of the Chapter 11 Cases. I also believe that such parties played an integral

role in the formulation of the Plan and have expended significant time and resources analyzing and

negotiating the issues throughout these Chapter 11 Cases. Additionally, I understand that the

Debtors’ Releases form an essential part of the consideration to be provided in exchange for the


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compromises and resolutions embodied in the Plan. I believe that the Debtors’ Releases are fair

and reasonable under the circumstances.

                              b.      The Voluntary Release by Holders of Claims and Interests
                                      Is Appropriate and Should Be Approved.

               34.     The Plan also provides for a voluntary release and discharge of the Released

Parties in Section 10.4 (the “Voluntary Release”) by the Releasing Parties for certain claims,

obligations, suits, rights, damages, Causes of Action, remedies and liabilities.

               35.     I have been advised that all Holders that are Releasing Parties were provided

with a Ballot or Election Form (as defined in the Solicitation Procedures Order), except to the

extent a Holder is Unimpaired under the Plan. I understand that Holders will be Releasing Parties

unless (a) they affirmatively opted out of the Voluntary Release or (b) in the case of Holders of

Claims or Interests who are deemed to reject the Plan, they affirmatively opted in to the Voluntary

Release.

               36.     I believe that the Voluntary Release constitutes a good faith settlement and

compromise and is fair, equitable and reasonable and in the best interests of the Debtors and all

Holders. Moreover, I believe that the Voluntary Release is an integral part of, and important to,

the implementation of the Plan. I understand from my participation in the Plan formation process

that the Voluntary Release facilitated constructive participation in both the development of the

Plan and the Debtors’ restructuring process generally. I also believe that the Voluntary Release is

sufficiently narrow, does not provide a blanket immunity, and provides a specific carve-out for

omissions that constitute gross negligence, willful misconduct, fraud or criminal acts.

               37.     For these reasons, I believe that the Voluntary Release is appropriate and

should be approved.




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                                c.      The Plan Exculpation Provision Is Appropriate and Should
                                        Be Approved.

                38.     In addition to the releases discussed above, I am advised that Section 10.7

of the Plan (the “Exculpation Provision”) also contains an exculpation for the Exculpated Parties,

consisting of: (a) the Debtors; (b) the Official Committee and its current and former members,

solely in their capacities as members of the Committee; (c) the Fee Examiner; (d) to the extent

determined to be acting as a fiduciary for the benefit of a Debtor, or its estate, the Bahamas JOLs

and FTX DM; and (e) with respect to each Person or Entity named in (a) through (d), any Person

or Entity to the extent acting as a member, shareholder, director, officer, employee, attorney

(including solicitors or barristers acting for the benefit of such Person or Entity), financial advisor,

restructuring advisor, investment banker, accountant and other professional or representative of

such Person or Entity, in each case in (a) through (e), to the extent such Person or Entity is or was

acting in such capacity. Notwithstanding anything to the contrary in the Plan or the Plan

Supplement, no Excluded Party shall be an Exculpated Party. I understand that gross negligence,

willful misconduct, fraud and criminal acts are excluded from the Exculpation Provision.

                39.     It is my view that the scope of the Exculpation Provision is limited to the

Exculpated Parties and their professionals and representatives, who have contributed significantly

to the efforts in the Chapter 11 Cases and will guide the successful consummation and

implementation of the Plan, for any act or omission occurring on or after the Petition Date and on

or before the Effective Date.

                                d.      The Injunction Is Appropriate and Should Be Approved.

                40.     Additionally, I am advised that Section 10.8 of the Plan provides for

permanent injunction preventing all Persons from bringing any action that is released pursuant to

the Plan or the Confirmation Order (the “Injunction”). I believe the Injunction is necessary to


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effectuate the Plan’s releases and to protect the Debtors from the potential of barred litigation from

prepetition stakeholders as they implement the provisions of the Plan following the Effective Date.

Such litigation would increase the costs and hinder the efforts of the Debtors to effectively fulfill

their responsibilities as contemplated in the Plan and thereby maximize recovery for all Holders.

I also believe that the Injunction is narrowly tailored to achieve its purpose.

       B.      The Plan Satisfies Bankruptcy Code Section 1129(a)(2).

               41.     To the best of my knowledge and belief, based on discussions with the

Debtors’ legal counsel and other advisors, I believe that the Debtors have satisfied section

1129(a)(2) of the Bankruptcy Code, including sections 1125 and 1126 of the Bankruptcy Code,

regarding disclosure and Plan solicitation. It is also my understanding that the Debtors distributed

the Disclosure Statement and solicited acceptances of the Plan through Kroll in accordance with

the Solicitation and Voting Procedures.

       C.      The Plan Has Been Proposed in Good Faith in Compliance with Bankruptcy Code
               Section 1129(a)(3).

               42.     It is my view that the Debtors have proposed the Plan in good faith and in

consultation with the Debtors’ counsel and advisors, and not by any means forbidden by law. I

believe the Debtors have proposed the Plan with honesty and good intentions in order to effectuate

an orderly wind down of the Debtors that is fair to and maximizes value for all stakeholders. The

Plan is not proposed for a purpose forbidden by law, but rather is consistent with the letter and

policy of the Bankruptcy Code and the fiduciary duties of the Debtors and their directors and

officers. It is my understanding that all documents, settlements and agreements necessary to

implement the Plan are essential elements of the Plan and entry into and consummation of the

transactions contemplated thereby is in the best interests of the Debtors, their Estates and Holders

of Claims and Interests. In my view, the terms of such documents are fair and reasonable. Further,


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I am advised that the Plan and proposed Confirmation Order further reflect feedback received from

the Debtors’ stakeholders, including certain customers. I believe the Plan is also the culmination

of good faith negotiations and arm’s-length discussions among the Debtors, the Official

Committee, the Ad Hoc Committee, the CFTC, the IRS, the Bahamas JOLs, various offices within

the United States Department of Justice, several states and many other stakeholders and their

representatives. The Plan reflects an agreement among all key stakeholders regarding the proper

allocation and process for distribution to the various Classes of the Debtors’ assets.

               43.     For these and other reasons, I believe that the Plan has been proposed by

the Debtors in good faith and solely for the legitimate and honest purposes of efficiently and

effectively winding down the Debtors and distributing their assets.

       D.      The Plan Complies with Bankruptcy Code Section 1129(a)(4).

               44.     I understand that Section 1129(a)(4) of the Bankruptcy Code requires that

any payment made or to be made by the plan proponent, by the debtor or by a person issuing

securities or acquiring property under the plan, for services or for costs and expenses in or in

connection with the case, or in connection with the plan and incident to the case, be subject to the

approval of the Court as reasonable. Based on my discussions with Debtors’ counsel, I understand

that the procedures set forth in Article 3 of the Plan for payment of, and/or the Court’s review and

ultimate determination of, the fees and expenses to be paid by the Debtors in connection with these

Chapter 11 Cases, or in connection with the Plan and incidental to these Chapter 11 Cases, satisfy

the objectives of, and are in compliance with, section 1129(a)(4) of the Bankruptcy Code.

       E.      The Plan Complies with Bankruptcy Code Section 1129(a)(5).

               45.     I have been advised that section 1129(a)(5)(A)(i) of the Bankruptcy Code

is satisfied because the Plan Supplement discloses the identities of the initial directors of the

Consolidated Wind Down Trust. The Plan Supplement also discloses that the officers of the

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Consolidated Wind Down Trust will consist of the Plan Administrator, a secretary and such other

officers as the board of the Consolidated Wind Down Trust shall deem appropriate. In accordance

with the Liquidating Trust Agreement, the officers of the Consolidated Wind Down Trust shall be

authorized to hire employees as they deem appropriate, subject to any limitations, conditions, and

qualifications imposed by the Wind Down Board. Accordingly, I believe that the Plan satisfies

section 1129(a)(5) of the Bankruptcy Code.

       F.      The Plan Does Not Contain Any Rate Changes.

               46.     I have been advised that the Plan does not provide for any rate changes by

the Debtors, and thus section 1129(a)(6) does not apply to the Plan.

       G.      The Plan Is in the Best Interests of All Creditors and Interest Holders.

               47.     I have been advised that the Bankruptcy Code requires that, with respect to

each Impaired Class of Claims or Interests, each Holder of a Claim or Interest of such Class either

(a) accept the Plan or (b) receive or retain under the Plan property of a value, as of the Effective

Date of the Plan, that is not less than the amount that such Holder would receive or retain if the

Debtors liquidated under chapter 7 of the Bankruptcy Code. For the purposes of determining

whether the Plan meets this requirement, personnel from A&M under my supervision, in

consultation with the Debtors and their counsel, prepared the liquidation analysis attached to the

Disclosure Statement as Appendix D (the “Liquidation Analysis”), which I have reviewed and

hereby incorporate by reference.

               48.     I understand that the Liquidation Analysis demonstrates that the Plan

satisfies the requirements of section 1129(a)(7) of the Bankruptcy Code. The Liquidation Analysis

estimates potential distributions to Holders of Allowed Claims in both a hypothetical chapter 7

liquidation of the Debtors and as prescribed in the Plan. The Liquidation Analysis demonstrates

that non-accepting Holders of Claims or Interests in all Classes will recover under the Plan value

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equal to or in excess of what such Claims or Interests would receive in a hypothetical chapter 7

liquidation.

                 49.   I believe that the Debtors’ Liquidation Analysis is reasonable and that the

assumptions and estimates in the Liquidation Analysis are appropriate in the context of these

Chapter 11 Cases. The Liquidation Analysis has been prepared assuming that these Chapter 11

Cases would have converted to cases under chapter 7 of the Bankruptcy Code on the anticipated

Effective Date, and the Bankruptcy Court would have appointed a chapter 7 trustee to oversee the

liquidation of the Debtor. A chapter 7 trustee would need to complete the liquidation of the

Debtors’ remaining assets, manage costs related to the liquidation process, such as wind-down

costs and trustee, professional and other administrative fees, and distribute the net proceeds to the

Holders of Claims and Interests in accordance with the priority scheme under chapter 7 of the

Bankruptcy Code. Importantly, the Liquidation Analysis is intended to be read in conjunction

with the notes and assumptions included in Appendix D of the Disclosure Statement, and I

understand that such assumptions are reasonable and consistent with what actually would have

occurred had the Debtors liquidated under chapter 7 of the Bankruptcy Code.

                 50.   The Liquidation Analysis is based upon my own knowledge and expertise,

and the knowledge and expertise of the Debtors’ other advisors, who have intimate knowledge of

the Debtors’ businesses and relevant industry and restructuring experience. It is my understanding

and belief that the Plan will provide all Holders of Claims and Interests with a recovery (if any)

that is not less than what such Holder would otherwise receive pursuant to a liquidation of the

Debtors under chapter 7 of the Bankruptcy Code. Accordingly, I understand that the best interests

test is satisfied as to every single Holder of a Claim against or Interest in the Debtors.




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       H.      The Plan Has Been Accepted by Certain Impaired Voting Classes.

               51.     As set forth in the Voting Report filed in support of the Plan, each of the

Voting Classes, each of which is Impaired under the Plan, voted to accept the Plan in accordance

with section 1126 of the Bankruptcy Code.

               52.     I understand that Class 9 (Cancelled Intercompany Claims), Class 11

(Intercompany Interests), Class 13 (Section 510(b) Preferred Equity Claims), Class 14

(Section 510(b) Other Equity Claims), Class 15 (Equitably Subordinated Claims), Class 16 (Other

Equity Interests), Class 17 (FTT Claims and Interests) or Class 18 (De Minimis Claims) are, as I

am informed by the Debtors’ counsel, deemed to have rejected the Plan pursuant to section 1126(g)

of the Bankruptcy Code. It is my understanding that, based on the advice of the Debtors’ counsel,

the Plan is nonetheless confirmable because it satisfies the “cram down” requirements of

section 1129(b) of the Bankruptcy Code.

               53.     Accordingly, while section 1129(a)(8) of the Bankruptcy Code has not been

satisfied, as discussed more fully below, the Debtors meet the alternative requirement of section

1129(b) and the Plan may be confirmed over the deemed rejections of Classes 9, Class 11,

Class 13, Class 14, Class 15, Class 16, Class 17 and Class 18 under the alternative “cram down”

requirements of section 1129(b) of the Bankruptcy Code.

       I.      The Plan Provides for Payment in Full of All Allowed Priority Claims.

               54.     It is my understanding that the Plan satisfies section 1129(a)(9) of the

Bankruptcy Code. I understand that the Plan and the Confirmation Order provide that except to

the extent that a Holder of a Priority Tax Claim or Other Priority Claim agrees to less favorable

treatment, each Holder of an Allowed Priority Tax Claim or Other Priority Claim shall receive

payment in full in Cash on or as soon as reasonably practicable after the earliest of (i) the Initial

Distribution Date; (ii) the date on which such Priority Tax Claim or Other Priority Claim becomes

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Allowed; and (iii) such other date as may be ordered by the Bankruptcy Court. It is also my

understanding that except to the extent that a Holder of an Allowed General Administrative Claim

agrees to less favorable treatment, the Holder of each Allowed General Administrative Claim shall

receive Cash in an amount equal to the full unpaid amount of such Allowed General Administrative

Claim on or as reasonably practicable after the later of (i) the Effective Date or (ii) the date on

which such Claim is Allowed.

                55.     I am advised that, for these reasons, the Plan satisfies the requirements of

section 1129(a)(9) of the Bankruptcy Code.

        J.      The Plan Satisfies Bankruptcy Code Section 1129(a)(10).

                56.     I understand that the Plan satisfies Bankruptcy Code section 1129(a)(10),

which I am advised requires the affirmative acceptance of the Plan by at least one class of impaired

claims, determined without including any acceptance of the Plan by any insider. As discussed

above, each of the Voting Classes is impaired and each of the Voting Classes voted

overwhelmingly to accept the Plan, and I understand there is no indication that insiders hold Claims

in any of these Classes sufficient to alter that result.

        K.      The Plan Is Feasible.

                57.     I am advised that section 1129(a)(11) of the Bankruptcy Code permits a

chapter 11 plan to be confirmed if it is feasible, i.e., it is not likely to be followed by liquidation

or the need for further financial reorganization. I understand that, in the context of the Plan,

feasibility is generally established by demonstrating the Debtors’ ability to implement the

provisions of the Plan with a reasonable assurance of success. I have been advised on the various

factors courts have considered when assessing the feasibility of a Plan.

                58.     Based upon my understanding of the Plan, the advice of the Debtors’ other

advisors and counsel and my experience with the day-to-day operations of the Debtors, I believe

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that the Plan is feasible. The Plan does not depend on the future earnings or operations of the

Debtors, but only on the orderly wind down of the Debtors and the distribution of the Debtors’

remaining assets. The Debtors, together with their advisors, have thoroughly analyzed the

Debtors’ ability to make distributions and meet their obligations under the Plan and have prepared

projections for the Consolidated Wind Down Entities based on a number of assumptions detailed

in Appendix C to the Disclosure Statement (the “Financial Projections”). As set forth in the

Financial Projections, an analysis of these factors in the context of these Chapter 11 Cases

demonstrates that the Plan is feasible. For these reasons, I believe that the Plan satisfies the

feasibility requirements of section 1129(a)(11) of the Bankruptcy Code.

       L.       The Plan Complies with Bankruptcy Code Section 1129(a)(12).

                59.    I have been advised that Section 1129(a)(12) of the Bankruptcy Code

requires the payment of all fees payable under 28 U.S.C. § 1930. I am advised that the Plan

satisfies the requirements of section 1129(a)(12) because Section 3.5 of Plan provides that the

Debtors will pay all such fees and interest due and owing prior to the Effective Date on or before

the Effective Date. On and after the Effective Date, the Wind Down Entities shall pay these fees

when due and owing and prepare and file all necessary quarterly reports and other reports required

by the Court.

       M.       Bankruptcy Code Section 1129(a)(13) Is Not Applicable.

                60.    I am advised that section 1129(a)(13) of the Bankruptcy Code is

inapplicable because the Debtors do not owe any “retiree benefits” (as defined in section 1114 of

the Bankruptcy Code).




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       N.      The Plan Satisfies “Cram Down” Requirements Under Bankruptcy Code
               Section 1129(b) for Non-Accepting Classes.

               61.     As previously discussed, Holders of Claims or Interests in Class 9, Class 11,

Class 13, Class 14, Class 15, Class 16, Class 17 and Class 18 are deemed to reject the Plan. It is

my understanding that, pursuant to section 1129(b) of the Bankruptcy Code, a plan of

reorganization may be confirmed notwithstanding the rejection or deemed rejection by a class of

claims or interests (i.e., “crammed down”) so long as the plan does not “discriminate unfairly” and

is “fair and equitable” with respect to each class of claims and interests that is impaired and has

not accepted the Plan. For the reasons discussed below, I believe that the Plan may be confirmed

as to Class 9, Class 11, Class 13, Class 14, Class 15, Class 16, Class 17 and Class 18 pursuant to

the “cram down” provisions of section 1129(b) of the Bankruptcy Code.

               1.      The Plan Does Not Discriminate Unfairly.

               62.     I have been advised that, under section 1129(b) of the Bankruptcy Code, a

plan unfairly discriminates where creditors and interest holders with similar legal rights receive

materially different treatment on account of a Claim under a proposed plan without a compelling

justification. I do not believe that the Plan unfairly discriminates. As described above, there are

no other Classes containing creditors or interest holders with Claims or Interests, as applicable,

similar to those in Class 9, Class 11, Class 13, Class 14, Class 15, Class 16, Class 17 and Class 18,

respectively, and each Class contains Claims or Interests that are similarly situated.

               2.      The Plan Is Fair and Equitable.

               63.     I have been advised that sections 1129(b)(2)(B)(ii) and (b)(2)(C)(ii) of the

Bankruptcy Code provide that a chapter 11 plan is fair and equitable with respect to a class of

impaired unsecured claims or interests if under the plan no holder of any junior claim or interest

will receive or retain property under the plan on account of such junior claim or interest. It is my


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understanding that distributions under the Plan are made in the order of priority prescribed by the

Bankruptcy Code and in accordance with the rule of absolute priority. There is no Class junior to

any of Class 9, Class 11, Class 13, Class 14, Class 15, Class 16, Class 17 or Class 18 that is

receiving or retaining “any property” “on account” of such Claim or Interest under the Plan.

Holders of Class 10B Claims will receive property on account of their claims, but such

distributions are pursuant to voluntary subordination in accordance with settlements reached in

these Chapter 11 Cases, including the IRS Settlement. For these reasons, I believe that the Plan is

“fair and equitable” and, therefore, understand it is consistent with the requirements of

section 1129(b) of the Bankruptcy Code.

        O.      The Principal Purpose of the Plan Is Not Avoidance of Taxes.

                64.     I believe that the purpose of the Plan is not to avoid taxes or the application

of section 5 of the Securities Act of 1933. Accordingly, I believe that section 1129(d) of the

Bankruptcy Code is satisfied.

IV.     Conclusion

                65.     In light of the foregoing, I believe that: (a) the Plan has been structured to

accomplish the Debtors’ goal of maximizing returns to stakeholders and efficiently winding down

the Debtors; (b) the Plan has been proposed by the Debtors in good faith; and (c) confirmation of

the Plan is in the best interests of the Debtors, their creditors and interest holders and other parties-

in-interest in these Chapter 11 Cases.

                66.     Accordingly, I understand and believe that the Plan satisfies the

requirements of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and other applicable

non-bankruptcy laws as they have been explained to me, and should therefore be approved.




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               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge, information and belief.



Dated: September 30, 2024                             /s/ Steven P. Coverick
                                                      Steven P. Coverick
                                                      Alvarez & Marsal North America, LLC
                                                      Managing Director




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